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                                   Index No. 15 CV 6091 (ILG) (VMS)

                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF NEW YORK


                                  MOSHE UNGAR,

                                                                               Plaintiff,

                                                        -against-

                                  THE CITY OF NEW YORK, POLICE OFFICER
                                  MICHAEL VICTORIA, Shield # 25392, POLICE
                                  OFFICER JASON WHYTE, Shield # 29767, POLICE
                                  OFFICER ALBERT ROBLES, Shield # 5848,
                                  SGT. RAYMOND GONZALEZ, Shield No. 599,
                                  SERGEANT YANDEI PERALTA, Shield No. 4060,
                                  E.M.T.TECHNICAN ROMAN FRANKLIN,
                                  Shield # 1589, POLICE OFFICERS JOHN/JANE
                                  DOE(S) #S 1-10,
                                                                            Defendants.


                                  MEMORANDUM     IN             OPPOSITION    TO
                                  PLAINTIFF’S MOTION            FOR   SPOLIATION
                                  SANCTIONS


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                                 PRELIMINARY STATEMENT

                On March 21, 2017, Plaintiff submitted a Notice of Motion for Spoliation

Sanctions Pursuant to Rule 37(d) of the Federal Rules of Civil Procedure. (Docket Entry No. 53).

               In sum, Plaintiff alleges that video evidence was negligently destroyed by

Defendants and requests that the Court either: (a) strike Defendants’ answer to the complaint; or (b)

allow a jury instruction that states that the video evidence would have supported Plaintiff’s case

and that, at the very least, Defendants should be held to have acted negligently towards Plaintiff.

               The instant motion will show that Plaintiff’s basis for the motion for spoliation is

improper, especially in light of the fact that a new updated certification was provided that indicated

that the digital video recordings on or around February 28, 2015, at Brooklyn Court Section

(“B.C.S.”), were deleted every thirty (30) days pursuant to B.C.S. policy. Moreover, Plaintiff

cannot meet the new standard regarding spoliation motions, which require a level of intent higher

than negligence or gross negligence.

               The Federal Rules of Civil Procedure were amended to alleviate the burdensome

and oftentimes unreasonable holding of courts with respect to spoliation evidence, wherein parties

were punished because they followed internal procedures regarding storage and deletion of

electronic and video information. Pursuant to this standard, Defendants cannot be faulted for the

destruction of the video evidence since it was made pursuant to internal B.C.S. policy and not to

deprive Plaintiff of evidence. Either way, Defendants will explain that Plaintiff’s motion would not

proceed even under the old standard since litigation in this case was not foreseeable.

               In sum, the fact that Plaintiff did not cooperate in the underlying criminal case

against the purported aggressor, Luis Marte, was indicative that Plaintiff was not interested in

pursuing legal recourse against indirect parties, such as the Defendants. Moreover, the mere fact
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that Plaintiff would not instigate civil action against Luis Marte, the alleged wrongdoer, adds to the

factor that litigation against Defendants was not foreseeable. As will be shown forthwith, striking

Defendants’ answer to the complaint or allowing an adverse jury instruction against Defendants

would be entirely improper, even under the old standard. Thus, this Court should deny Plaintiff’s

motion for spoliation sanctions without leave to re-file since the facts and circumstances pertaining

to the preservation of this video cannot be held against Defendants under any circumstances.

                                           ARGUMENT

                                              POINT I

                       PLAINTIFF FAILED TO COMPLY WITH
                       LOCAL CIVIL RULE 37.3 TO CONFER IN
                       GOOD FAITH WITH OPPOSING COUNSEL IN
                       ORDER TO RESOLVE DISCOVERY DISPUTES
                       PRIOR TO SEEKING COURT INTERVENTION

                It is incredulous that Plaintiff would submit a motion for spoliation based on

Defendants’ prior representation that the videos recorded at B.C.S. were deleted after a ninety (90)

day period when – at a conference prior to Plaintiff’s filing of the instant motion - Plaintiff was

informed that the video recording at B.C.S. was deleted after a thirty (30) day period and that

Defendants would submit an updated certification to that effect. Although Plaintiff recognizes that

an updated certification would be forthcoming, Plaintiff states that “no follow-up documentation

was provided despite Court Order for same.” (Plaintiff’s Memorandum in Support of Motion for

Spoliation (“Pl’s Memo.”), p. 5, Docket Entry No. 54) Plaintiff, however, failed to inform the

Court that he agreed with defense counsel to receive the updated certification at a later date in order

to accommodate the officer who would be attesting to the same.

               On March 1, 2017, the undersigned called Plaintiff’s counsel, David Zelman, and

informed him that the sergeant responsible for the updated certification was out on vacation and

that said certification could not be provided by this date; Mr. Zelman expressed no concern and

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acknowledged that Defendants could provide it afterwards – with no date certain – in order to

accommodate the sergeant. At no time between March 1, 2017, and March 21, 2017 (the filing

date for Plaintiff’s motion) did Mr. Zelman: (1) call the undersigned to follow-up on the updated

certification; or (2) state that a motion for spoliation would be forthcoming.1

                   Defendants obtained the certification concerning the thirty (30) day deletion period

for the videos at B.C.S. To the undersigned’s surprise, however, Plaintiff decided to file the

present spoliation motion instead of conferring with Defendants with respect to the aforementioned

updated certification.        More importantly, the matter concerning this update certification is a

discovery dispute that could have easily been resolved had Plaintiff simply complied with Local

Rule 37.3. Although Defendants acknowledge that the Court ordered Defendants to produce the

updated certification by March 1, 2017, the undersigned was under the reasonable belief that –

given that the certification pertained to a discovery matter – the parties’ agreement to have the

certification produced at a later date, especially because of the sergeant’s personal matter, was

enough. Furthermore, the production of the certification did not respond to an immediate deadline,

so time was not of the essence with respect to its production. In any case, Local Civil Rule 37.3 is

clear: “[p]rior to seeking judicial resolution of a discovery or non-dispositive pretrial dispute, the

attorneys for the affected parties or non-party witness shall attempt to confer in good faith in person

or by telephone in an effort to resolve the dispute, in conformity with Fed. R. Civ. P. 37(a)(1).”

Plaintiff, however, never attempted to confer with the undersigned with respect to this updated




1
    The updated certification was provided to Plaintiff shortly after the filing of Plaintiff’s motion.


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 certification in compliance with Local Civil Rule 37.3, nor did he communicate that a motion for

 spoliation based primarily on the old certification was forthcoming.2

                 A purview of Plaintiff’s motion shows that his basis for spoliation is substantiated

 on the belief that a video recording at B.C.S. on February 28, 2015, was deleted after a ninety (90)

 day period. Specifically, Plaintiff states that “Defendants admit that the recording in question was

 overwritten, i.e. destroyed, on or about May 28, 2015” (i.e., ninety (90) days after February 28,

 2015) and that because Plaintiff’s Notice of Claim was received on May 14, 2015, “Defendants had

 a duty to institute a litigation hold approximately two weeks before the video was destroyed.

 Defendants by their own admission failed to do so.” (Pl’s Memo., p. 6).

                 At the February 15, 2017 status conference, Defendants communicated to the Court

 and Plaintiff that the original certification concerning the deletion of video was incorrect and that a

 new certification would be provided. (See Docket Entry No. 47) Thus, Plaintiff’s statement that

 Defendants admit to the destruction date of the recording as occurring on or about May 28, 2015, is

 untrue and deceiving. Moreover, had Plaintiff simply complied with Local Civil Rule 37.3,

 Plaintiff’s motion would not have been based on such falsehood.                   Plaintiff, thus, blatantly

 misrepresents Defendants’ position in order to substantiate his motion and the Court should

 admonish Mr. Zelman for failing to confer on such a simple matter, especially since he was fully




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   Defendants note that this is not the first time that Plaintiff’s counsel, Mr. Zelman, failed to comply with
 Local Civil Rule 37.3 in this case. On October 24, 2016, Magistrate Judge Marilyn Go denied Plaintiff’s
 motion filed on October 15, 2016, because Plaintiff “fail[ed] to confer on unproduced discovery” with
 opposing counsel. In addition, Defendants note that, in a different case, District Judge Kiyo A. Matsumoto
 adopted a Report & Recommendation from Magistrate Judge Lois Bloom that noted that Mr. Zelman failed
 to comply with Local Civil Rule 37.3; Judge Matsumoto “agree[d] with Judge Bloom’s finding that had
 plaintiffs properly conferred with defendants regarding discovery issues, at least some of the motion practice
 and related work would have been unnecessary…” See Case No. 15-CV-5132 (KAM) (LB) (EDNY)
 (Docket Entry No. 44) Thus, Plaintiff’s counsel, Mr. Zelman, is a repeat offender of Local Civil Rule 37.3.


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 aware that a new certification would be produced and had agreed for its production after the March

 1, 2017 date.

                                               POINT II

                        PLAINTIFF RELIES ON CASE LAW THAT
                        DOES NOT APPLY THE NEW SPOLIATION
                        STANDARD, WHICH PRECLUDES HIM FROM
                        OBTAINING   SANCTIONS,    ESPECIALLY
                        THOSE REQUESTED TO THIS COURT

                 Plaintiff contends that Defendants should be sanctioned because they “spoliated

 critical evidence that they were obligated to preserve for the purpose of foreseeable litigation,”

 specifically “the video footage from Kings County Central Booking from the date of the incident.”

 (Pl’s Memo., p. 1). Plaintiff alleges that Defendants had notice that the video “was relevant to both

 a criminal matter and this civil matter.” (Id.) Consequently, Plaintiff requests that the court either:

 (a) “strike their answer to the complaint and enter default judgment in Plaintiff’s favor”; or (b)

 provide for a “mandatory or permissive adverse inference charge.” (Id.) As explained below,

 however, Plaintiff’s motion should be denied because he cannot meet the Rule 37(e) standard to

 impose spoliation sanctions against Defendants since the video was destroyed pursuant to B.C.S.

 procedures and not to deprive Plaintiff of evidence.

                 Defendants first note that Plaintiff’s motion makes no reference of the fact that the

 spoliation standard changed after December 1, 2015. Although some elements of case law may be

 applicable to the spoliation analysis, Plaintiff’s Memorandum relies almost entirely on outdated

 court decisions.

                 The Second Circuit defines spoliation as the destruction or significant alteration of

 evidence, or the failure to preserve property for another’s use as evidence in pending or reasonably

 foreseeable litigation. West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999).

 Prior to December 1, 2015, while some circuits had required a showing of willfulness or bad faith

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 before a court could impose severe sanctions, such as dismissing a case, entering a judgment by

 default, or utilizing an adverse inference, the Second Circuit permitted such sanctions upon a

 finding that the party that had lost or destroyed evidence had merely acted negligently. Residential

 Funding Corp. v. DeGeorge Capital Corp., 306 F.3d 99, 108 (2d Cir. 2002).

                However, on April 29, 2015 Chief Justice John G. Roberts transmitted the revised

 Federal Rules of Civil Procedure, with the new amendments to Congress. In doing so, Chief Justice

 Roberts included an Order providing in part that “…[t]he foregoing amendments to the Federal

 Rules of Civil Procedure shall take effect on December 1, 2015, and shall govern in all proceedings

 in civil cases thereafter commenced and, insofar as just and practicable, all proceedings then

 pending.” 2015 U.S. Order 0017. The order is consistent with 28 U.S.C.§ 2074(a), which states in

 part, “[T]he Supreme Court may fix the extent to which such rule [of procedure or evidence] shall

 apply to proceedings then pending…” Cat3, LLC v. Black Lineage, Inc., 164 F. Supp. 3d 488

 (S.D.N.Y. 2016).

                The amendments to the Federal Rules that became effective on December 1, 2015

 mandate substantial changes, some of the most significant of which relate to spoliation sanctions

 under Rule 37(e). As noted, supra, the rule previously consisted entirely of a modest safe harbor

 provision that protected against the imposition of sanctions where electronically stored information

 was lost as the result of routine computer functions, such as automatic deletion. The amended rule

 is much more comprehensive; it was adopted to address concerns that parties were incurring burden

 and expense as a result of over-preserving data, which had been driven by the fear of severe

 spoliation sanctions, especially since federal circuits had developed varying standards for

 penalizing the loss of evidence. Fed. R. Civ. P. 37(e) Advisory Committee's Note to 2015

 Amendment.



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                In issuing the new Rule, the Rules Advisory Committee explicitly rejected cases

 relied on by Plaintiff, such as Residential Funding Corp. v. DeGeorge Financial Corp., 306 F.3d

 99 (2d Cir. 2002), which authorized the giving of adverse inference instructions on a finding of

 mere negligence or gross negligence. Fed. R. Civ. P. 37(e)(2) Advisory Committee's Note to 2015

 Amendment. Instead, the new Rule adopted the principle that severe sanctions are only permitted

 where the court finds an “intent to deprive another party of the information's use in the litigation,”

 Fed. R. Civ. P. 37(e)(2). The new Rule 37(e) overrules the Second Circuit precedent of Residential

 Funding Corp. on the question of what state of mind is sufficiently culpable to warrant an adverse

 inference instruction, and other severe sanctions, when electronically stored evidence is missing.

 Fed. R. Civ. P. 37(e) Advisory Committee's Note to 2015 Amendment; Cat3, LLC v. Black Lineage,

 Inc., 164 F. Supp. 3d 488 (S.D.N.Y. 2016); Thomas v. Butkiewicus, No. 3:13-CV-747 (JCH), 2016

 U.S. Dist. LEXIS 57163 (D. Conn. Apr. 29, 2016); Thurmond v. Bowman, No. 14-CV-6465W,

 2016 U.S. Dist. LEXIS 45296 (W.D.N.Y. Mar. 31, 2016); Best Payphones, Inc. v. City of N.Y., No.

 1-CV-3934 (JG) (VMS), 2016 U.S. Dist. LEXIS 25655 (E.D.N.Y. Feb. 26, 2016).

                Lastly, courts within the Second Circuit have utilized two different standards of

 proof when it comes to determining whether a party is guilty of spoliation of evidence—by a

 preponderance of the evidence, or by clear and convincing evidence. Where the court relies on its

 inherent power to impose sanctions, as opposed to authority grounded in statute or rule, it is more

 likely that clear and convincing evidence will be required. Revson v. Cinque & Cinque, P.C., 221

 F.3d 71, 78 (2d Cir. 2000). Where the sanction sought is severe, such as case-terminating or

 otherwise punitive in nature, the higher standard is appropriate. Cat3, LLC v. Black Lineage, Inc.,

 164 F. Supp. 3d 488 (S.D.N.Y. 2016); Thomas v. Butkiewicus, No. 3:13-CV-747 (JCH), 2016 U.S.

 Dist. LEXIS 57163 (D. Conn. Apr. 29, 2016); Thurmond v. Bowman, No. 14-CV-6465W, 2016



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 U.S. Dist. LEXIS 45296 (W.D.N.Y. Mar. 31, 2016); Best Payphones, Inc. v. City of N.Y., No. 1-

 CV-3934 (JG) (VMS), 2016 U.S. Dist. LEXIS 25655 (E.D.N.Y. Feb. 26, 2016). As stated, in

 adopting the 2015 Amendments to Rule, the Rules Advisory Committee rejected the standard set

 forth in Residential Funding Corp., which authorized the giving of adverse inference instructions

 on a finding of negligence or gross negligence. Fed. R. Civ. P. 37(e)(2) Advisory Committee's Note

 to 2015 Amendment.

                Essentially, Plaintiff has asked that the instant motion be decided on case law that is

 no longer controlling in this circuit. Plaintiff has failed to identify the correct legal standard by

 omitting any mention of the revisions to Rule 37, nor any recent case law citing to the new and now

 controlling standard in its moving papers.

                A.      Plaintiff Argues that Defendants were Negligent, which Does Not
                        Comply with the New Standard

                Plaintiff seeks sanctions for spoliation of evidence based on Defendants’ failure to

 preserve surveillance camera footage from the jail cell in which Plaintiff’s incident occurred.

 Specifically, Plaintiff avers that he “has been deprived of this unique and critical evidence . . .

 through Defendants’ actions and/or omissions,” which suggests a negligence standard at best. (See

 Pl’s Memo., p. 8). As mentioned above, under the new standard, negligence cannot be considered

 in spoliation motions pertaining to video surveillance such as the one at issue here.

                In this case, any video recording depicting the February 28, 2015 incident was

 deleted pursuant to B.C.S. policy, wherein video footage was deleted after thirty (30) days. (B.C.S.

 certification signed by Sergeant Sealy, annexed to Marquez Decl. as Exhibit A). As such, any

 video from B.C.S. generated on February 28, 2015, would have been destroyed on or around March

 30, 2015. Plaintiff, thus, cannot show the necessary culpable state of mind required to obtain

 sanctions against Defendants pursuant to the new standard because the video was deleted pursuant


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 to B.C.S. procedure and not to deprive Plaintiff of evidence. Plaintiff’s motion, therefore, should

 be summarily denied based on this new standard.

                Notwithstanding this new standard, Defendants contend that Plaintiff’s motion

 would nonetheless fail to comply with the old standard expressed in Residential Funding Corp.

 since he cannot show that Defendants were negligent or grossly negligent towards the preservation

 of the February 28, 2015 video.

                B.     Finding of Spoliation Would not be Warranted Even Under the Old
                       Standard

                Under the old standard, spoliation sanctions may be warranted if the Plaintiff shows:

 “(1) that the party having control over the evidence had an obligation to preserve it at the time it

 was destroyed; (2) that the records were destroyed by Defendants and with a culpable state of

 mind; and (3) that the destroyed evidence was relevant to the party's claim or defense such that a

 reasonable trier of fact could find that it would support that claim or defense.” Residential Funding

 Corp., 306 F.3d at 108 (internal quotation marks omitted).

                Defendants argue that Plaintiff cannot meet the standard espoused in Residential

 Funding Corp. since: (1) no obligation to preserve the video evidence existed since litigation was

 not foreseeable because of Plaintiff’s uncooperativeness in the criminal case; (2) the video

 recordings were not destroyed with a culpable state of mind, but rather pursuant to B.C.S. policy;

 and (3) Plaintiff cannot show that preservation of the video would have furthered his underlying

 claims and that Defendants had a duty to preserve.

                1.     Plaintiff’s Non-Cooperation During the Criminal Case of Luis Marte
                       Made Civil Litigation Unforeseeable; Plaintiff’s Reference to “a
                       Number of Lawsuits” From Incidents Purportedly at B.C.S. is
                       Insufficient to Make Litigation Foreseeable




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                “Th[e] obligation to preserve evidence arises when the party has notice that the

 evidence is relevant to litigation . . . [or] when a party should have known that the evidence may be

 relevant to future litigation.” Creighton v City of NY, 2017 US Dist LEXIS 21194, at *43-44

 (S.D.N.Y. Feb. 14, 2017) (quoting Kronisch v. United States, 150 F.3d 112, 126 (2d Cir. 1998)).

                Defendants contend that Plaintiff’s inaction in his criminal case necessarily forces

 the conclusion that civil litigation was not foreseeable. Consequently, Plaintiff cannot turn around

 and argue that, despite his uncooperativeness in the criminal litigation, civil litigation was

 foreseeable against indirect parties purportedly responsible for his harm.

                The District Attorney File concerning the alleged criminal assault of Moshe Ungar

 against Luis Marte was produced pursuant to this Court’s November 11, 2016 Order; a review of

 the District Attorney File reveals that the case dismissed pursuant to the “speedy trial provisions”

 of N.Y.C.P.L. § 30.30. (Relevant portions of District Attorney File, annexed to Marquez Decl.

 as Exhibit B). The records show that the Assistant District Attorney attempted to communicate

 with Plaintiff, but could not.3 The District Attorney records, therefore, reflect Plaintiff’s failure to

 cooperate in the underlying criminal investigation. Consequently, Plaintiff’s lackadaisical attitude

 towards his underlying criminal case would not suggest that he intended to commence litigation on

 his own behalf after the conclusion of the criminal case . In other words, Plaintiff’s failure to

 cooperate in the criminal action against Mr. Luis Marte – the individual who actually harmed him –

 would suggest a lack of interest to pursue legal recourse against those allegedly – and indirectly –

 responsible for the alleged harm. Thus, Plaintiff’s allegation that Defendants had an obligation to




 3
   Defendants note that Plaintiff has not attempted to depose the Assistant District Attorney who handled
 Plaintiff’s criminal case, though the parties have discussed the need to conduct such deposition.


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 preserve the February 28, 2015 video because of “foreseeable” litigation against them is

 undermined by his own conduct as the complaining witness in the criminal case.

                Lastly, Plaintiff cites various cases in his memorandum that he argues made

 litigation in his case foreseeable, which are the same cases relied upon him for his Monell

 discovery request at Docket Entry No. 48: Charles Blake v. Kelly, 2014 U.S. Dist. LEXIS 119090

 (S.D.N.Y. 2014), Keith v. City of New York, 2014 U.S. Dist LEXIS 166469, Poulos v. City of New

 York, U.S. Dist. LEXIS 6301,4 Strano v. City of New York, 1998 U.S. Dist LEXIS 9258, and

 Bullard v. City of New York, 240 F.Supp.2d 29.

                Defendants first refer the Court to their Response in Opposition to Plaintiff’s request

 for additional Monell discovery at Docket Entry No. 49, which distinguishes the applicability of the

 aforementioned cases to Plaintiff’s case. In said response, Defendants actually analyze the cases

 cited by Plaintiff and note how different the facts of these cases are to the case at bar. For example,

 Plaintiff cites Poulos, which pertains to a default judgment against a non-appearing party because

 of an attack that happened at the Anna M. Kross Center (“A.M.K.C.”) – not B.C.S. As such, this

 case is wholly inapplicable and not a reliable source to argue that Defendants were “on notice” that

 litigation was foreseeable. As another example, Plaintiff cites Bullard; this case, however, has

 nothing in common with Plaintiff’s complaint since the alleged incident was at Bronx Central

 Booking - not B.C.S. More importantly, however, Plaintiff primarily relies on the allegations

 made in these cases – not actual findings by the court of wrong doing.

                Second, Defendants contend that Plaintiff cannot rely on such cases to adduce

 “foreseeability” of litigation in the spoliation context since the mere reliance on other litigation is

 not enough by itself. See Simms v. City of New York, 480 Fed. Appx. at 630 (2d Cir. 2012) (citing




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 to another civil lawsuit does not state a claim for municipal liability because the fact of the lawsuit

 shows only that the allegation was made, “not that those violations actually occurred”).

 Accordingly, these clearly inapplicable cases cannot be relied upon by Plaintiff for the proposition

 that Defendants were “on notice” that litigation stemming from his incident at B.C.S. was

 foreseeable.

        2.      Plaintiff Failed to Show that Defendants Had a Culpable State of Mind or a
                Duty to Preserve the February 28, 2015 video recording

                Defendants first reiterate that any video recording depicting the February 28, 2015

 incident would have been deleted pursuant to B.C.S. policy, wherein video footage was deleted

 after thirty (30) days. Plaintiff, thus, cannot show the necessary culpable state of mind required to

 obtain sanctions against Defendants. Either way, Plaintiff cannot hold each individual defendant

 liable since he has failed to show that each individual was responsible for the preservation of the

 February 28, 2015 video footage; in fact, Plaintiff acknowledges that none of them were.

                Plaintiff cites Manganiello v. City of New York, 612 F.3d 149, 166 (2d Cir. 2010),5

 for the proposition that “[a] police department and its constituent officers have an obligation to

 preserve evidence obtained during the course of its criminal investigations in anticipation of a

 criminal trial” and that “failure to [preserve such evidence] will justify the imposition of spoliation

 sanctions in a subsequent civil lawsuit which alleges police misconduct.” (Pl’s Memo., p. 5).

 Manganiello, however, is an example of case entirely inapplicable to the case at bar since, in that

 matter, the detective was faulted for failing to preserve his own case file, which had been generated

 and stored solely by him. Although Plaintiff is correct to note that spoliation sanctions may be



 4
  The correct citation is 2016 U.S. Dist. LEXIS 6301.
 5
   Defendants note that Manganiello pertained to spoliation sanctions against a detective who failed to
 preserve his own case folder, which was indisputably under his control.


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 appropriate against individuals or entities that had control and a duty to maintain documents or

 recordings, “[a spoliation sanction] is not appropriate where the [movant has not shown that the

 alleged spoliators had] ‘any control over the [relevant] recordings, any duty to maintain them, or

 were in any way involved in the failure to preserve them.’” Creighton, 2017 US Dist LEXIS

 21194, at *43-44 (citing Deanda v. Hicks, 137 F. Supp. 3d 543, 556 (S.D.N.Y. 2015), and quoting

 Grant v. Salius, No. 09 Civ. 21, 2011 U.S. Dist. LEXIS 133248, 2011 WL 5826041, at *2 (D.

 Conn. Nov. 18, 2011)).

                 Here, Plaintiff has not shown that each individual capacity defendant was

 responsible for the preservation of video evidence from February 28, 2015. This is particularly

 important to highlight when the harm to Plaintiff was caused by a fellow arrestee and not a New

 York Police Department (“N.Y.P.D.”) employee, which diminishes the foreseeability that the

 individual capacity defendants had to act to preserve the video. Inclusively, Plaintiff references

 deposition testimony of Police Officer Albert Robles that confirms that Officer Robles did not have

 control over the video recordings, nor a duty to preserve. (Pl’s Memo., p. 7).6 Plaintiff, thus,

 cannot argue that an adverse inference should be held against these individual officers – to their

 detriment – when preservation of video was never within the purview of their functions.

                 As will be explained in the next section, Plaintiff testified that the only

 “identifiable” officers that walked past his cell were African American male police officers, which

 6
   Plaintiff states that Officer Robles “was questioned regarding whether any video existed of the incident at
 issue” and “denied all knowledge of the video and testified that it ‘would not be his job’ to view the
 footage.” (Pl’s Memo., p. 4). Plaintiff refers to the Complaint Room Screening Sheet that is consistent with
 Officer Robles’s testimony that he believed that a video of the incident appears to have existed at the time,
 though he did not personally view said video. In addition, Plaintiff refers to Defendants’ response to a
 document demand for the video. (Id.) Both Officer Robles’s deposition testimony and the response to
 Plaintiff’s document demand are consistent with representations made throughout the course of this
 litigation: although the video existed at some point, no video recording of the February 28, 2015 presently
 exists or is in Defendants’ possession.



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 automatically precludes from liability defendants Albert Robles, Yandei Peralta, Raymond

 Gonzalez, Michael Victoria, and Roman Franklin. Accordingly, Plaintiff’s own admission impedes

 liability against these officers because they lacked any personal involvement in his alleged and

 indirect harm. Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994) (“It is well-settled in this Circuit

 that personal involvement of defendants in alleged constitutional deprivations is a prerequisite to an

 award of damages under § 1983.”); Black v. Coughlin, 76 F.3d 72, 74 (2d Cir. 1996) (noting that

 personal involvement means “direct participation”). Plaintiff, therefore, cannot show “personal

 involvement” by these officers with respect to his underlying claims, which means that an adverse

 inference against these officers with respect to the video would be entirely improper and unduly

 prejudicial. See Fed. R. Evid. 403.

                In this case, Police Officer Jason Whyte is the only African-American named

 defendant and, consequently, the only named defendant that could be held theoretically liable.

 However, even if we assume Officer Whyte is one of the two African American officers referenced

 by Plaintiff, Plaintiff cannot show that Officer Whyte had control over the video surveillance

 system or had a duty to preserve the February 28, 2015 video recording. Thus, a motion for

 spoliation sanctions against Officer Whyte cannot prevail and – if anything – would unduly

 prejudice Officer Whyte.

                Lastly, Plaintiff relies on the fact that he submitted a notice of claim on May 14,

 2015, for the proposition that he placed the Defendants on notice to preserve the video recording.

 In other words, the mere filing of his notice of claim served as an automatic carte blanche

 preservation request. Even if we assume that the notice of claim served as an automatic carte

 blanche preservation hold (which we do not), Defendants explained at the February 15, 2017 status

 conference that the video was destroyed well before Plaintiff’s notice of claim filing, which means



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 that the notice would not have had any bearing on the preservation of the video.7 Accordingly,

 Plaintiff cannot show that any of the Defendants should be held liable for spoliation.

                 3.      Plaintiff Failed to Show that the Video Evidence would have
                         Corroborated His Version of Events and Furthered His Failure to
                         Intervene and Failure to Protect Claims

                 “[W]hen the destruction [of evidence] is negligent, relevance must be proven by the

 party seeking the sanctions.” Deanda, 137 F. Supp. 3d at 555 (internal quotation omitted). When a

 party alleges negligence or gross negligence, the plaintiff “has the burden of proving that the

 allegedly lost evidence was relevant to his claims.” Id. “A party seeking sanctions for negligent

 spoliation must demonstrate that the destroyed, altered, or lost evidence ‘was relevant to the party's

 claim or defense such that a reasonable trier of fact could find that it would support that claim or

 defense.’” Creighton, 2017 US Dist LEXIS 21194, at *43 (quoting Chin v. Port Auth. of N.Y. &

 N.J., 685 F.3d 135, 162 (2d Cir. 2012)). While “[c]ourts must take care not to ‘hold[] the

 prejudiced party to too strict a standard of proof regarding the likely contents of the destroyed [or

 unavailable] evidence. . . , a party seeking spoliation sanctions for negligent conduct must show

 through extrinsic evidence that the destroyed evidence would have been favorable to [his] case”

 and that inability to show that the “destroyed evidence would have been helpful in proving a claim

 or defense, more severe sanctions such as an adverse inference are not warranted.” Creighton,

 2017 US Dist LEXIS 21194, at *55-56 (internal citations and quotations omitted) (citing De

 Espana v. Am. Bureau of Shipping, No. 03 Civ. 3573 (LTS) (RLE), 2007 U.S. Dist. LEXIS 41498,

 2007 WL 1686327, at *6 (S.D.N.Y. June 6, 2007) (“[W]here the culpable party was negligent,


 7
   Defendants, however, underscore that, even if a Notice of Claim would have been filed before the thirty
 (30) day destruction date, such filing – by itself – would not have been enough to make litigation
 foreseeable. If anything, a “preservation hold” request, filed concomitantly with the Notice of Claim, would
 have bolstered Plaintiff’s argument that notice was effectuated, though even this act may not be enough in
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 there must be extrinsic evidence to demonstrate that the destroyed evidence was relevant and would

 have been unfavorable to the destroying party.”). “This corroboration requirement is . . .

 necessary where the destruction was merely negligent, since in those cases it cannot be

 inferred from the conduct of the spoliator that the evidence would even have been harmful to

 him.” Great N. Ins. Co., 2007 U.S. Dist. LEXIS 66798, 2007 WL 2687666, at *11 (emphasis

 added).

                Plaintiff alleges that Luis Marte was “irate and belligerent for approximately ten to

 fifteen minutes before striking Plaintiff” and that “Marte uttered a string of anti-Semitic invective

 clearly targeted at Plaintiff.” (Pl’s Memo., p. 8). Plaintiff asserts that “Defendants took notice of

 Marte’s behavior, but neglected to intervene beyond telling him to ‘sit down.’” (Id.) Plaintiff adds

 that he “did nothing to provoke Marte.” (Id.) Perplexedly, Plaintiff makes the statement that

 “[w]hen the case at bar proceeds to trial, at the forefront of the jury’s minds will be the question of

 just how loud and belligerent Marte was in the period leading up to the attack, just how apparent

 the danger he presented was”; Plaintiff, however, does not show that the February 28, 2015 video

 recording would have had audio recording as well. Assuming all of Plaintiff’s aforementioned

 factual statements are true, Defendants add the following undisputed facts arising from Plaintiff’s

 deposition testimony to show that the aforementioned video would not have helped his case.

                Plaintiff testified that he fell asleep in the same jail cell in which the incident

 happened and that he was woken up by Luis Marte’s statements.                (Plaintiff’s Deposition

 Transcript (“Pl’s Dep.”), annexed to Marquez Decl. as Exhibit C, p. 49:16-17). Plaintiff had

 been in this same jail cell for approximately 13-14 hours before being awakened by Luis Marte.



 certain cases. Here, Plaintiff never submitted such preservation letter with his Notice of Claim, which
 severely diminishes the strength of his argument.


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 (Pl’s. Dep., pp. 51-52). The only statements purportedly made by Luis Marte were that “Jewish

 people have money, nice cars, that stuff” (Pl.’s Dep., p. 49:16-17), “all this stuff that Jewish people

 have nice cars.” (Pl’s Dep., p. 50:8-14). Plaintiff testified that these statements were made for

 approximately 10-15 minutes and that an African American officer walked by the cell and told Luis

 Marte to “sit down and shut up.” (Pl’s Dep., p. 53:15-17; p. 54:1-13; p. 55:19-24). Plaintiff added

 that Luis Marte banged on the wall at some point. (Pl’s Dep., p. 106:14-25; p. 107:1-25; p. 108: 1-

 8). Plaintiff stated that in these 10-15 minutes, he did not say anything to any police officer, nor

 does he remember other inmates saying anything to the police officers. (Pl’s Dep., p. 55:8-18).

 Plaintiff does not remember Luis Marte sitting down and complying with these alleged orders.

 (Pl’s Dep., p. 56:18-24). Plaintiff alleges that he was punched once and without having provoked

 Luis Marte. (Pl’s Dep., p. 58:21-25).

                So, assuming all of these facts are true and are depicted in the video, the central

 question that we have concerning the instant motion is whether the aforementioned facts would

 have been reflected in the video and would have been beneficial to Plaintiff’s case or detrimental to

 Defendants; the answer is unquestionably no for the following reasons.

                First, assuming the video existed, the same did not have audio recording, which

 means that the alleged statements could not be heard.         Given that Plaintiff substantiates his

 allegations on the content of Luis Marte’s statements, the inability to play such audio would have

 nevertheless have existed even if the video had been preserved.

                Second, Plaintiff does not remember whether or not Luis Marte was complying with

 the officers’ orders to “sit down and shut up,” which means that it is unknown whether the video

 recording would show Luis Marte complying with such orders. Furthermore, Plaintiff admits that




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 he did not say anything to the officers during Luis Marte’s alleged tirade, which makes it highly

 doubtful that an attack was imminent and foreseeable.

                Third, even if the aforementioned facts would have been reflected in the video,

 Plaintiff failed to explain or show that they would be relevant to furthering his failure to intervene

 and failure to protect claims.

                Defendants note that Plaintiff’s failure to intervene claim requires him to prove that

 a police officer must have had “a realistic opportunity to intervene to prevent the harm from

 occurring.” Anderson v. Branen, 17 F.3d 552, 557 (2d Cir. 1994).

                Plaintiff admits that he was only punched once, which is not enough to substantiate

 a failure to intervene claim. See Stewart v. Schiro, No. 13-cv-3613, 2015 U.S. Dist. LEXIS 52962,

 2015 WL 1854198, at * 2 (E.D.N.Y. Apr. 22, 2015) (dismissing the plaintiff's Section 1983 failure

 to intervene claim where, inter alia, the fight between the two inmates lasted only one (1) to two (2)

 minutes); see also Blake v. Base, 90-CV-0008, 1998 U.S. Dist. LEXIS 14659, 1998 WL 642621, at

 *13 (N.D.N.Y. Sept. 14, 1998) (McCurn, J.) (dismissing failure-to-intervene claim against police

 officer based on finding that the punch to the face and few body blows that plaintiff allegedly

 suffered “transpired so quickly . . . that even if defendant . . . should have intervened, he simply did

 not have enough time to prevent plaintiff from being struck”).

                Here, Plaintiff’s admission that he was punched once is enough to dismiss his failure

 to intervene claim. Thus, even if the video were produced, the same would not show a cognizable

 failure to intervene claim, which precludes spoliation sanctions.

                With respect to Plaintiff’s failure to protect claim, the Plaintiff must show that the

 Defendants acted with deliberate indifference. Darnell v. Pineiro, 849 F.3d 17 (2d Cir. 2017). In

 Darnell, the Second Circuit reaffirmed that “mere negligence” is not enough to prevail in a 42



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 U.S.C. § 1983 action since “any § 1983 claim for a violation of due process requires proof of a

 mens rea greater than mere negligence.” Darnell, 849 F.3d at 41 (citing Kingsley v. Hendrickson,

 135 S. Ct. 2466, 2472, 192 L. Ed. 2d 416 (2015)). Consequently, a pretrial detainee “must prove

 that an official acted intentionally or recklessly, and not merely negligently.” (Id.)

                The video recording does not have audio. As a result, the statements purportedly

 made by Luis Marte will not be reflected in the video, which implies that the video recording

 would not have aided Plaintiff’s failure to protect claim since his argument is primarily

 substantiated on the content of Luis Marte’s statements as putting the unidentified officer “on

 notice” that an attack was going to occur. On the other hand, it is particularly damning to

 Plaintiff’s underlying claim that he admits that he did not complain to a police officer over what

 was occurring, which severely weakens any argument that the one-punch-attack was foreseeable in

 this 10-15 minute window and that any Defendant could be found to have been reckless in

 preventing harm. Moreover, the statements “Jewish people have money, nice cars, that stuff” and

 “all this stuff that Jewish people have nice cars” is not indicative that an attack is imminent and

 foreseeable, which means that – even if we assume all these facts are true – a defendant officer

 cannot be held liable for unforeseeable acts. As such, Plaintiff cannot show that he is entitled to

 spoliation sanctions since it cannot be said that the video recording would have been helpful to his

 failure to protect claim.

                Lastly, Defendants add that Luis Marte indicated that Plaintiff “was right next to

 me, he took out his penis so I punched him,” which would indicate that Plaintiff unreasonably

 provoked Luis Marte to commit the physical aggression against him and that this was not some




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 “random” act by Luis Marte against Plaintiff.8 (Complaint Room Screening Sheet, annexed to

 Marquez Decl. as Exhibit D).

                  If the video existed, this action purportedly committed by Plaintiff could have been

 reflected in the video, which would blow his claim out of the water. Consequently, Plaintiff cannot

 show that preservation of the February 28, 2015 video would have furthered any of his purported

 constitutional violations. See McGinnity v. Metro-N. Commuter R.R., 183 F.R.D. 58, 63 (D. Conn.

 1998) (declining to give adverse inference instruction where “all parties [were] equally prejudiced

 by the absence of the tape recording” and “complete discovery [was] conducted by all parties in the

 absence of the tape recording”). Both parties, therefore, must litigate this case with whatever

 discovery is available to them.

          C.      The parties are attempting to contact potential witnesses; the fact that no
                  witness has been identified cannot serve as a basis to grant a spoliation motion

                  Plaintiff states that he “did not did not learn the names of any other inmates in the

 cell” and that because “Defendants have failed to disclose the names of such witnesses, the

 surveillance camera is effectively the only disinterested witness to the incident.” (Pl’s Memo., p.

 9). Again, Plaintiff purposefully paints himself ignorant of the fact that the video surveillance was

 destroyed in a thirty (30) day period instead of ninety (90) days, which was corrected by

 Defendants and noted to Plaintiff’s counsel, David Zelman, multiple times.

                  Regardless of whether individual witnesses could be identified, the destruction of

 the video does not impede Plaintiff from litigating his case. See United States v. Ungar, 648 F.

 Supp. 1329, 1335 (E.D.N.Y. 1986) (recognizing that: (1) “government destruction of exculpatory

 evidence violates due process only if the exculpatory value of the material was apparent before the


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     Luis Marte has not been deposed. Nevertheless, Defendants will make an application to the Court to
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 material was destroyed, and if the nature of the material was such that the defendant would not be

 able to obtain comparable evidence by other reasonable available means”; and (2) liability for the

 destruction of the documents should not be found if it was done in the ordinary course of business

 and not in bad faith). Moreover, Plaintiff did not first attempt to contact witnesses until this year

 (i.e., 2017). If anything, this type of discovery should have been pursued soon after the filing of the

 first complaint on October 22, 2015. Nevertheless, Plaintiff chose not to pursue this course of

 action and Defendants are not expected to guess Plaintiff’s litigation strategy. Although true that

 Defendants could not identify specific witnesses located in Plaintiff’s cell during the assault, this is

 because B.C.S. does not keep track of the movement of individuals in between cells. In addition,

 the parties have conferred with respect to sending letters to potential witnesses pursuant to this

 Court’s February 15, 2017 Order; Plaintiff communicated that he would be mailing a letter to these

 potential witnesses. Plaintiff, thus, cannot argue in good faith that the parties’ inability to identify

 witnesses should somehow factor into adverse consequences for any party, especially when

 Plaintiff waited until 2017 to contact potential witnesses.

                                                  POINT III

                          PLAINTIFF REQUESTS SANCTIONS THAT
                          ARE DISPROPORTIONATE AND UNDULY
                          PREJUDICIAL TO DEFENDANTS

                 The Second Circuit has stated that “‘a case by case approach [is] appropriate’ to

 determine whether an adverse inference [or some other sanction] is warranted.” Deanda, 137 F.

 Supp. 3d at 555 (quoting Byrnie v. Town of Cromwell Bd. of Educ., 243 F.3d 93 (2d Cir. 2001));

 see also Adorno v. Port Auth., 258 F.R.D. 217, 227 (S.D.N.Y. 2008) (“[D]etermining the proper

 sanction to impose for spoliation is 'confined to the sound discretion of the trial judge . . . and is


 attempt to contact him in order to hold his deposition.


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 assessed on a case-by-case basis.’”) (quoting Fujitsu Ltd. v. Fed. Exp. Corp., 247 F.3d 423, 436 (2d

 Cir. 2001)).

                 Plaintiff moves to strike Defendants’ answer to the complaint “as the appropriate

 sanction to remedy this purported spoliation.” (Pl’s Memo., p. 9). In the alternative, Plaintiff

 moves the court “to provide a jury instruction, wherein it is ‘presume[d] that the spoliated evidence

 would have supported plaintiff’s version of events, and that their absence should – or at the very

 least may – be deemed as evidence that the Defendants acted negligently when they left Plaintiff

 alone in Central Booking.’” (Id.)

                 Defendants contend that Plaintiff’s negligence argument is enough by itself to

 preclude striking Defendants’ answer and granting default judgment, which would be unreasonable

 in this case. As such, Defendants focus on Plaintiff’s contention that a jury instruction with an

 adverse inference is merited in the instant case.

                 First, as discussed above, Plaintiff failed to show that any of the Defendants had

 control over the February 28, 2015 video recording and had an obligation to preserve it at any time.

 Plaintiff, thus, fails to meet the first prong.

                 Second, as explained, the February 28, 2015 video recording was deleted pursuant

 to B.C.S.’s thirty (30) day deletion policy.        Accordingly, Plaintiff cannot blame any of the

 Defendants for the video’s destruction or prove that the video was destroyed with a culpable state

 of mind. Plaintiff therefore fails to meet the second prong.

                 Lastly, as explained above, Plaintiff cannot show that the video recording – although

 potentially relevant – would have supported his underlying claims. In other words, and for the

 reasons previously expressed, the video would not have corroborated Plaintiff’s version of events,

 especially in light of his description of how the altercation occurred. Furthermore, the alleged



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 aggressor, Luis Marte, communicated that Plaintiff provoked him, which would destroy Plaintiff’s

 argument that he was attacked for “no reason” other than being of the Jewish faith. Consequently,

 Plaintiff cannot meet the third prong since he cannot show that the video recording would have

 substantiated his failure to intervene and failure to protect claims, nor can he show that the video

 would have been harmful to the Defendants’ case.

                                               POINT IV

                        PLAINTIFF’S ATTORNEY IS NOT ENTITLED
                        TO ATTORNEY FEES

                Plaintiff requests attorneys’ fees in connection with the filing of his motion.

 Defendants disagree that Plaintiff should be entitled to attorneys’ fees.

                Plaintiff failed to confer in good-faith under Local Civil Rule 37.3 so as to properly

 target the contents of his motion. Plaintiff misrepresented Defendants’ statements as well as

 documents furnished to Plaintiff by Defendants. Plaintiff cited irrelevant case law that does not

 bolster his spoliation claim. In addition, Plaintiff filed the instant motion without attempting to

 depose multiple parties, such as the assistant district attorney that handled the underlying criminal

 investigation, the aggressor, Luis Marte, or potential witnesses.

                Accordingly, there are multiple reasons to deny Plaintiff’s request for attorneys’ fees

 in light of the fact that: (1) the motion does not proceed as a matter of law; and (2) Plaintiff’s filing

 of this motion was premature, improper, and misrepresented various facts.




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                                             CONCLUSION

                For the reasons stated herein, Plaintiff’s Motion for Spoliation Sanctions should be

 denied in its entirety and without leave to re-file.


 Dated: New York, New York
 April 10, 2017


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